223 F.2d 266
    55-1 USTC  P 9419
    Albert WINNICK, Petitioner,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.Ida WINNICK, Petitioner,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.
    Nos. 12293, 12294.
    United States Court of Appeals Sixth Circuit.
    April 28, 1955.
    
      George L. Cassidy, William C. Loud, Detroit, Mich., for petitioners.
      H. Brian Holland, Daniel A. Taylor, Ellis N. Slack, John M. Morawski and Dudley J. Godfrey, Jr., Washington, D.C., for respondent.
      Before SIMONS, Chief Judge, and McALLISTER and MILLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The above cause coming on to be heard upon the record, the briefs of the parties, and the arguments of counsel in open court, and it appearing that the issues are factual, the inferences to be drawn from the evidence are for the trier of the facts, in this case, the Tax Court, and it appearing that there was no error of law in its decision and that its findings are sustained by substantial evidence on the record as a whole,
    
    
      2
      Now, therefore, it is ordered, adjudged, and decreed that the decision of the Tax Court, 21 T.C. 1029, be and is hereby affirmed.
    
    